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                            UNITED STATES DISTRICT
                           COURT FOR THE DISTRICT OF
                                  COLUMBIA


 UNITED STATES OF AMERICA                        :
                                                 :
          v.                                     : CRIMINAL NO. 21mj231
                                                 :
 Raechel Genco,                                  :
       Defendant.                                :

                                               ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon consent,

it is therefore

        ORDERED that, after taking into account the public interest in the prompt disposition of

criminal cases, good cause exists to extend the Preliminary Hearing to April 27, 2021; it is

        FURTHER ORDERED that the period from February 12, 2021 to April 27, 2021 be

excluded from computing the time within which an information or indictment must be filed under

the Speedy Trial Act because the ends of justice served by such a continuance outweigh the best

interests of the public and Defendant in a speedy trial. See 18 U.S.C. ' 3161(h)(7). The Court finds

that COVID-19 has presented complications here that make it difficult for defense to meet with her

client and prepare, and that delay is necessary for the parties to work on a potential resolution.

                                                It Is So Ordered.
                                                                           2021.03.19 11:10:18
                                                                   -04'00'
                                                ______________________________________

                                                Zia M. Faruqui

Entered: ___March 19, 2021___                   United States Magistrate Judge




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